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JUSTIN TESTANI,

Plaimiff, CASE No. X~.\‘& ¢»/ had z,la`l"¢-)
vs. JuRY TRIAL DEMANDED
PRoG LEASING, LLC, d/b/a PRoGREsslvE
LEASING,

Dcfcndant.

/
CoMPLAINT

Plaintiff, Justin Testani (“Plaintiff”), allege the following Complaint against Defendant,
Prog Leasing, LLC, D/B/A Progressive Leasing (“Del`endant”):

l. 'l`his is an action l`or damages for violations of the 'I`elephone Consumer Protection
Act, 47 U.S.C. §227 et seq, (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat.

§§ 559.55 erseq. (“FCCPA”).

PARTIES
2. Plaintiff is a “consumer” as that tenn is defined by Fla. Stat. § 559.55(2).
3. Del`endant is a foreign company with its principal place ol` business in Utah.

Defendant has a registered agent located in the state of Florida._ and the actions forming the basis of
this Complaint took place at Plaintiff"s home location in this district.

4. l)efcndant is a “person” subject to regulation under Fla. Stat. § 559.72.

5. Plaintif`f` is the subscriber, regular user and carrier of the cellular telephone number,

(727-XXX-3247), and was the called party and recipient of Defendant’s autodialer calls.

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JURISDlC'I`lOl\' Al\`l) VENUE

6. l`llis Coult has l`edcral question jurisdiction pursuant to 28 U.S.C. § 1331 for the
TCP/\ claim, and should exercise supplemental jurisdiction over the State |"CCPA claims pursuant
to 28 U.S.C. § l3()7(a), as such claims are so closely related so as to form part ol` the same case or
controversy.

7. Venue is proper in this District pursuant to 28 U.S.C. § l391(b`)(2), in that the acts
giving rise to this action occurred in this District.

FACTUAL ALLEGA'|`IONS

8. Plaintil`l` allegedly incurred a consumer debt with Defcndant(hereinalter “Subject
Debt”).

9. 'l`he Subject Debt is considered a "consumer debt" as defined by the FCCPA, as it
constitutes an obligation for the payment ot` money arising out of a transaction in which the money
and/or services which was the subject of the transaction was primarily l`or Plaintil`l`s’ personal,
family, or household purposes

lO. ln August 2017, l’laintit`f` became delinquent on the Subject l)ebt due to the loss ol`
income as a result ol`l'lurricane lrma.

ll. Shortly thereaher, as part ol` its el`l`orts to collect the Subject Debt, Defendant began
a campaign of calling l’laintit`l`s cellular phone numerous times.

12. ln September, 2017, Del`endant autodialcd l’laintift"s cell phone in an attempt to
collect the subject debt. Plaintil`l` informed Del`endant that he was unable to make payment. He then
requested Defendant to stop calling his cell phone. Plaintil`l` informed Del`endant that he would

make a payment when he was able.

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13. Despite Plaintiff"s requests, Del`endant continued to atttodial his cell phone in an
attempt to collect the subject debt. Del`endant placed 112 automated calls to Plaintiff"s cell phone.

14. l"urther, in or around September, 2017, Del`endant presented to Plaintiff"s mothcr’s
residences and left a hangar on the door. Del`endant proceeded to have a conversation with
Plaintiff s mother with respect to the subject debt.

15. Each of Defendant’s calls placed to Plaintist cell phone in which he answered had
a time-gap before one of Del`endant’s representatives would rcspond. 'l`his suggests Del`endant used
an autodialer system to place calls to Plaintifl"s cell phone.

16. l"urther, Defendant has a corporate policy to usc an Automatic Te|ephone Dialing
System (as defined by the TCPA) and has numerous other federal lawsuits pending against them
alleging similar violations and facts as stated in this complaint

17. Despite Plaintiff informing Del`endant for his reason of non-payment towards the
Subject Debt and taking all reasonable measures at negotiating a resolution to the Subject l)ebt, the
Defendant continued its efforts to try and collect the Subject l)ebt from Plaintif`f`. /\s a result,
Def`endant’s subsequent attempts to persuade Plaintif`f were made with the intent to simply exhaust
Plaintiff"s will and harass Plaintiff.

18. 'l`he above-referenced conduct was a willful attempt by Defendant to engage in
conduct which was reasonably expected to abuse or harass P|ainti l`l`.

19. Del`endant’s conduct has caused Plaintiff to suffer injuries in fact through significant
anxiety, emotional distress, frustration, and anger.

20. l)efendant’s autodialer calls to Plaintiff’s cell phone caused him headaches and loss

of time from work due to answering these ea|ls.

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21. By effectuating these unlawful phone calls, Del`endant has caused Plaintiffthe very
harm that Congress sought to prevent~namely, a "nuisance and invasion of privacy."

22. Defendant’s aggravating and annoying phone calls trespassed upon and interfered
with l’laintiff"s rights and interests in her cellular telephone and cellular telephone line, by intruding
upon Plaintiff"s seclusion.

23. Defendant’s phone calls harmed Plaintiff by wasting his time.

24. Moreover, "wireless customers [like Plaintill`| are charged for incoming calls
whether they pay in advance or after the minutes are used." ln rc: Rules Implcmenting the 'l`Cl’A of
1991, 23 FCC Rcd 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the
battery life on her cellular telephone, and by using minutes allocated to Plaintiff by her cellular
telephone service provider.

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VIOLATIONS OF THE TEL|EPHONE COMSUMER l’ROTEC'I`ION ACT
47 U.S.C. § 227 et seq.

25. Plaintiff incorporates by reference paragraphs l through 24 of this Complaint as
though f`ully stated herein.

26. lt is a violation of the TCPA to make “any call (other than a call made for
emergency purposes or made with the prior express consent of the called paity) using any automatic
telephone dialing system or an artificial or prerecorded voice to any telephone number assigned
to a cellular telephone service ...” 47 U.S.C. § 227(b)(l)(A)(iii).

27. The Defendant placed non-emergency telephone calls to Plaintist cellular
telephone using an automatic telephone dialing system or pre-recorded or artificial voice, without

Plaintist consent in violation of 47 U.S.C. § 227(b)(1)(A)(iii).

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28. Plaintiff revoked any prior express consent Del`endant had to call Plaintist cellular
telephone number. As such, the Defendant`s calls were willful or knowing See 47 U.S.C. §
312(f)(1).

29. As a result of the Defendant’s conduct and pursuant to Section 227(b)(3) of the
TCPA, Plaintiff was hamted and is entitled to a minimum of$500 in damages for each violation.

30. Because the Defendant knew that Plaintiff had revoked prior express consent to
receive their autodialed and prerecorded voice calls to his cellular telephone ~ and /or willfully used
an automatic telephone dialing system and/or prerecorded voice message to call Plaintiff's cellular
telephone without prior express consent - Plaintiff requests the Court to treble the amount of`
statutory damages available to l’laintiff pursuant to 47 U.S.C. § 227(b)(3).

Wl-IEREFORE, Plaintiff demandsjudgment against the Defendant for damages, costs, and
such further relief as this Court deemsjust and proper.

§QM

VIOLATIONS OF THE FL()RIDA CONSUMER COLLECTIONS PRACTICES ACT
FLORIDA STA'I`UTES § 559.55 et seq.

31. Plaintiff incorporates by reference paragraphs l through 24 of this Complaint as

though fully stated herein.
32. The foregoing acts and omissions of Defendant constitute a violation of the FCCPA:

a. Fla. Stat. 559.72(5): l)isclose to a person other than the debtor or her or
his family information affecting the dcbtor’s reputation. ..

b. Fla. Stat. 559.72(7): Willfully communicate with the debtor or any
member of her or his family with such frequency as can reasonably be
expected to harass the debtor or her or his family, or willfully engage in
other conduct which can reasonably be expected to abuse or harass the
debtor or any member of her or his family.

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33. As a resulit of Defendant’s violation of the FCCPA, pursuant to Fla. Stat. § 559.77
Plaintiff is entitled to damages in an amount up to $1,000.00 for violation of the FCCPA, actual
damages, plus reasonable iattorneys’ fees and costs.

WHEREFORE, Plaintiff demands judgment for actual and statutory damages, attorneys’

fees, costs, and such further relief as this Coutt deemsjust and proper.

 

DEMAND FOR JURY TRIAL

Plaintiff demands a trial byjury on all issues so triable.

/s/ l

Jon P. beld, Esq.

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